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 To the Sentencing Judge, Honorable Judge T.S. Ellis III,

 My name is Amerah Akhter, and I am the mother of Muneeb Akhter and his twin brother. I am writing to
 plead for leniency in his sentencing. I am deeply sorrowful about the reasons for which he is in your
 presence.

 I was blessed with Muneeb and Sohaib, in November of 1991, at the age of 21, soon after I graduated
 from Ohio State University with a Bachelor’s degree in Biochemistry. In the following two years, they were
 joined by their younger sisters. Taking care of four very young kids so close in age was very difficult. I
 realized that the only way I could manage was by teaching them, in the hope that by forming their
 attachment to books and learning, they could sit quietly in a corner with their books. They learned fast, and
 were always eager to learn more. Their first year of formal education was the second grade.

 When the boys were five years old, their father was offered a job in Riyadh, Saudi Arabia. Muneeb and
 Sohaib attended International schools that taught the American and British curriculums. They were always
 the youngest in their class and were often picked on by the other students. They found it difficult to gain
 acceptance because they were American and spoke only English. We later found friends who were similar
 to us, who also spoke English and were expatriates from the west (US, UK and Canada). We would visit
 the US during the summer vacations and visit relatives in various states.

 Our years in Riyadh were challenging. Due to the extremely hot weather, and the difficulty in making
 friends with non-English speaking kids, Muneeb and Sohaib went to school and stayed home mostly. I
 was also afraid they would be targets for kidnapping because they were American, so I rarely let them out
 of my sight. In the aftermath of 9/11, during the terrorist bombings in Riyadh in May 2003, there was a
 bomb a couple blocks from our apartment building. The whole building shook, and we didn’t know what
 was happening. Two days later, we were evacuated from Riyadh on a privately chartered plane by the
 company that Najam (boys’ father) worked for, not knowing if we would be able to return. It was a
 traumatic experience.

 After the boys completed high school, they applied for admission to universities in the US. The kids and I
 ultimately came to live with my mother in Springfield, VA, while Najam stayed in Riyadh to continue
 working. After spending all these years feeling like fish out of water, the boys were very excited and
 grateful to be in the US. They made the most of their university experience not just with the classes they
 took, but also involved themselves in peer advising. Muneeb set up his own student organization called
 ECHO (Electronic and Computer Hacking Organization). Pretty soon, they caught the attention of the
 associate dean for undergraduate studies in the School of Engineering, E. Bernard White. I sincerely
 appreciated the interest he took in the boys. He would call them into his office once in a while, and ask
 them about their progress. Whenever I met with him at university events, he would point out the
 uniqueness and similarities between Muneeb and Sohaib. It meant a lot to me that he cared enough to
 notice. Sadly, he passed away in September, 2013; the boys attended his funeral. His admiration for the
 boys was recorded in an article in the Fairfax County Times, titled “Twins, 19, highlight Mason’s Class of
 2011” (May 20, 2011, Holly Hobbs, pg. A8). He said, “What sets (the brothers) apart from the other
 engineering students is they have become very involved here. They have sought to create new
 knowledge. They have not been here to just learn what the teachers teach, but more.” He also said,
 “These young men are just wonderful….They have contributed so much to the university.” During the
 graduation ceremony, Dean White, walked up to the boys sitting in their section on his way to the stage,
 just to shake hands with them and congratulate them personally.

 With the Grace of God Almighty, they completed their Bachelor’s degrees in Electrical Engineering with
 honors. Muneeb continued at George Mason University for his Master’s program in Computer
 Engineering. During that time, he started his own company called Accesys Technologies, to apply for
 research contracts. He was hoping to get funding for his graduate research. He succeeded in acquiring a
 grant for a project called SCATEboard. After successful completion of the project he received a letter of
 appreciation from the project manager at the Information Innovation Office of DARPA (Defense Advanced
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 Research Project Agency), Mr. Peiter Zatko, in which he stated that the project “…will enable the
 government to better understand and prepare for important cyber challenges.” He also stated that “Your
 partnership with Cyber Fast Track not only contributes to the success of this novel and innovative program
 but promotes a positive relationship between the Government and the Cyber Community.”

 Muneeb took part in many hackathon events, some that had monetary prizes, and others that were
 altruistic. An organization called Random Hacks of Kindness held a Water Hackathon to support poor
 people in obtaining affordable, safe, and sustainable access to water and sanitation services
 (www.wsp.org/about) Muneeb and his teammate “built a functional prototype that simulated how a
 customer in Botswana could send an SMS message enquiring “what is my bill?” and instantly receive their
 billing information on their mobile phone from the utilities’ database. In addition to saving customers’ time,
 this simple technological solution can potentially improve the utility’s revenue collections and operating
 efficiency. Winning “hacker” Muneeb Akhtar, aged 19, said: “Our goal is not to develop a product to make
 money. Our goal is to help people, so all our projects are based on that theme.”

 Muneeb also took part in Code4Country and event held by USAid and received a letter of appreciation and
 a certificate. The letter was by Jonathan Hale, Deputy Assistant Administrator, Bureau for Europe and
 Eurasia. In it he stated, “The US Government asked for help, and you responded.” He also said, “It was
 about ordinary citizens working together across borders and building bridges between the US and Russia
 by addressing common challenges.”

 Other notable contributions Muneeb has made was creating an app called “Justice Forever” that would
 make helping others be in a form of a game. He came up with the Green Driver app for the Ford Fusion to
 help in fuel efficiency. He created the CapitaList app that would enable entrepreneurs to locate
 government funding. He developed the Neighborhood Network Notifier, a software system that sets up
 small neighborhood networks. Messages on the network are sent and received via SMS (Cell Phone Text)
 messages. The system allows for information to be passed on to close neighbors
 (http://code4country.pbworks.com/w/page/4603522). He took part in an event to assist the Smithsonian
 American Art Museum “to reimagine the digital interpretation in the museum’s visible storage facility.”
 (americanart.si.edu/luce/hack) In this event, Muneeb received an Honorable Mention Certificate for an app
 that would provide audio information about the artwork. He took part in events called “Hack for Change”
 and “National Day of Civic Hacking”.

 When Muneeb started getting interested in hacking and cyber security, both his father and I begged him to
 find another field of interest, because the concept of hacking has negative connotations in the general
 community. He argued that this is very necessary knowledge in an increasingly electronic world. He felt
 there would be good job opportunities. His intention and efforts in the field were never malicious. He was
 hoping to be on the side of good with this knowledge. His past contributions are a testament to that. Also
 the jobs he was applying for, many of which were government or law enforcement related. This is why
 these recent actions for which he stands before you, are so difficult for us to understand. Maybe he was
 thinking that by those actions, he could prove his credibility to the agents who had questioned him on
 previous occasions. Probably in the line of thinking that a locksmith is no good if he can’t open a lock.

 After he finished his Master’s degree, I encouraged him to apply for the PhD program. He argued that with
 a PhD, he would be overqualified for the job market, and finding a job will become more difficult. My major
 concern was with him entering a competitive job market where most of the people would be much older
 than him. I was afraid that people would take advantage of him, same as his peers have done throughout
 his education years. Also, his field of interest, cybersecurity, is a relatively new field. I felt he should have
 studied it more in a formal setting to better understand the boundaries and proper ways and areas to apply
 the knowledge. He would’ve greatly benefited from professional supervision and guidance. He was so
 enthusiastic about his knowledge and skills that he eagerly sought to enter the work force either through a
 traditional job assignment, or with research opportunities through his company. He applied extensively to
 many companies. There were a few incidences, where he succeeded through the interview process and
 was given verbal assurances that an offer was forthcoming, only to be informed that they could not extend
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 an offer. Muneeb was perplexed, but was not given any reason. Nevertheless, Muneeb turned his
 attention to trying to establish his company by seeking contracts.

 Much of Muneeb’s knowledge and skill was self-taught with the help of resources that are available online.
 He was very eager to have someone acknowledge his skills either through job opportunities or research
 opportunities. He sought out and took part in events like the hackathons where he would meet like-minded
 people, people who would acknowledge and appreciate what he has to contribute. In these recent
 misguided actions, he was probably trying to impress his friends with what he could do, and didn’t exercise
 caution in the steps he took. I am sure he is deeply regretful for his mistakes, and will endeavor never to
 make such mistakes again.

 Muneeb and Sohaib embody the true American spirit of entrepreneurship. Muneeb used to attend
 seminars on campus during his undergraduate studies given by entrepreneurs about establishing
 businesses. Their favorite shows to watch were shows like Shark Tank, where innovators and small
 businesses present their ideas to billionaire investors and try to get investments for them or secure
 business deals. Another one of their favorite shows was The Profit, where entrepreneur and investor
 Marcus Lemonis, goes around the country and invests in struggling businesses and shows them how to
 improve their businesses. They looked up to start-up successes like Steve Jobs, Bill Gates, and Marc
 Zuckerberg. They are full of ideas for inventions, and hope to be able to work on them one day. They were
 trying to make their way in the world. Unfortunately, they stumbled and made some mistakes. We hope
 that these mistakes are not what would define, but that they could be given the opportunity to work
 towards their goal of coming up with products and services that would improve life.

 On a personal level, Your Honor, I must admit most sincerely, that it has been a blessing watching him
 and his brother grow up. Often times I felt honored and grateful to God Almighty that I was blessed to be
 the only one to witness the wonderful things they would do. Muneeb and Sohaib have a very strong
 relationship. In all their life, I have only witnessed them fight only a handful of times. Most of the times,
 they are very caring and supportive of each other, and others around them. Growing up means there will
 be times when they will question the parents’ judgement and advice. Even in times of disagreements, I
 have found Muneeb and Sohaib to be respectful and patient with me and their father. In their interactions
 with extended members of the family, they are always respectful and polite to the elders and loving and
 caring towards the younger ones. If anyone ever reached out to them for help of any kind, they are always
 there to do what they can. They are the eldest of their generation on both sides of the family, so they have
 a lot of cousins that look up to them and admire them for their achievements. In family gatherings, they are
 often entrusted with the care and supervision of their younger cousins which they carry out with patience
 and to the best of their ability.

 Your Honor, since his arrest, Muneeb has spent time in prayer, and repentance. He has lead prayers and
 talks with his fellow inmates about forgiveness, repentance and importance of our relationship to God
 Almighty. Even in detention, he sought to do good deeds. He was grateful for little blessings such as
 getting a cookie with his meal. He tried to see the good in the people he met. Muneeb has an affinity to
 learn. In a positive environment, he will learn quickly. I fear that even in a negative environment he will
 learn, and what he learns there might not be of benefit to anyone. Your Honor, no one would be more
 grateful than me, to see Muneeb correct his ways and become a positive member of society. I know with
 full certainty that if given the chance he will make amends. Becoming a responsible member of society
 means acknowledging one’s mistakes and repairing the damage. Only good deeds will erase the bad
 deeds. In light of the good he has already demonstrated, and the good that he is capable of doing with his
 knowledge and skills, I humbly implore you to show mercy and leniency in Muneeb’s sentence.

 Your Honor, I would like to mention our personal situation. It is very difficult to maintain a family unit where
 the members are located half way around the world. Here, in Springfield, I have a responsibility to my
 elderly mother, who suffers from type 2 diabetes, high blood pressure, arthritis and osteoporosis. She is
 not capable of taking care of herself, and cannot be left unattended. I also have a responsibility to my
 husband in Riyadh. During my absence these past few years, his health has suffered greatly. He has lost
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 over sixty pounds, and says that on many occasions he goes to sleep hungry because he is too tired to
 cook when he comes home from work. In this predicament, I was hoping that I could entrust Muneeb and
 Sohaib with the care of their grandmother and their younger sisters, while I could go to take care of their
 father. If their sentence could be structured in such a way that they would be allowed to care of their
 grandmother and sisters, and participate in community service or such, it would be immensely
 appreciated.

 Sincerely,

 Amerah Akhter
